Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    1 of 9 Page 1 of 9




                                                            U.S. Department of Justice

                                                            United States Attorney
                                                            D is tr ic t   of   C o nne ct               i   cut



                                                            C onne c ti c ut Financ   i   al   C ente    r             (203)82 1-3700
                                                            157 Church Street, 25th Floor                              Fax (203) 773-s376
                                                            New Haven, Connecticut 06510                               ww w   j us tic e. gov/us    ao/c      t


                                                            March 7,2018
                                                                              :, jb{ri}.r.,..t\f ri'.r,.,r'.".,,..-..                       j al;,¡;,,,;n.
                                                                             'l¡;+, !,',. ,;'!., it.i ..i r¿.....',..r i"'ì;.11.,:.¡.r,¡rj
                                                                                                                         '{. .ù:, i1:,. \ r¡..:,,!r.ii il !
                                                                                    1'"ìt   .....'.,.;        /,.:' ¡-''i ,, /., " /-.-r.r: :r.. !r
      George G. Mowad II, Esq                                                        i.r:4.i::.::.i i '"..
                                                                                                       ¡.. ì. ¡.;l¡ :.-r\.i- ' , .l:j;.irlì;, 1,:1.
                                                                              ;ii'tii! ìÌi':'i          ;r"l
                                                                              '? l¡"!.ù.=!JJ             !.'.
      83 Bank Street                                                                                ,i
      'Waterbury,
                  CT 06702
                                                                                                                                                    -1:;;:1       f   l/
              Re      United States v. Gerry Matthews
                      Case No. 3: I 8-CR- g3(V frg

      Dear Attomey Mowad:

             This letter confirrns the plea agreement between your client, Ge.ry Matthews (the
      "defendant"), and the United States Attorney's Office for the District of Connecticut (the
      "Government") concerning the referenced criminal matter.

      THE PLEA AND OFFENSE

              The defendant agrees to waive his right to be indicted and to plead guilty to a single-
       count information charging a violation of 18 U.S.C. $ 1349.

              The defendant understands that, to be guilty of this offense, the following essential
       elements of the offense must be satisfied:

               1      Two or more persons, in some way or manner, agreed to try to accomplish a
                      common and unlawful plan to commit wire fraud as charged in the information;
                      and

               2.     The defendant knew the unlawful purpose of the plan and                                   willfully joined in it.




                                                                                                                                        Q
Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    2 of 9 Page 2 of 9

      March    7, 2018 letter to George G. Mowad   II, Esq
      Page 2

      THE PENALTIES

               Imprisonment

               This offense carries a maximum penalty of 20 years of imprisonment.

                             Release

             In addition, the Court may impose a term of supervised release of not more than 3 years
      to begin after any term of imprisonment. 18 U.S.C. $ 3583.

             The defendant understands that, should he violate any condition of supervised release, he
      may be required to serve a further term of imprisonment of up to 2 years per violation pursuant
      to 18 U.S.C. $ 3583 with no credit for time already spent on supervised release.

               Fine

              This offense carries a maximum fine of $250,000. The defendant is also subject to the
      alternative fine provision of 18 U.S.C. $ 3571. Under this section, the maximum fine that may
      be imposed on the defendant is the greatest of the following amounts: (1) twice the gross gain to
      the defendant resulting from the offense; (2) twice the gross loss resulting from the offense; or
      (3) $2s0,000.

               Special Assessment

              In addition, the defendant is obligated by 18 U.S.C. $ 3013 to pay a special assessment of
      $ 100 on each count of conviction. The defendant agrees to pay the special assessment to the
      Clerk of the Court on the day the guilty plea is accepted.

               Restitution

              In addition to the other penalties provided by law, the Court must also order that the
      defendant make restitution under 18 U.S.C. $ 36634, and the Government reserves its right to
      seek restitution on behalf of victims consistent with the provisions of $ 3663A. The scope and
      effect of the order of restitution are set forth in the attached Rider Concerning Restitution.
      Restitution is payable immediately unless otherwise ordered by the Court.

              Regardless of the amount of restitution that may be ordered by the Court, the defendant
      reserves his right to move the Court to apportion restitution among this defendant and other
      separately charged liable defendants in a manner other than jointly and severally, pursuant to 18
      U.S.C. $ 3664(h). The Government agrees to respond to any such motion consistent with the
      facts underlying the conspiracy.
Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    3 of 9 Page 3 of 9

      March    7, 2018 letter to George G. Mowad   II, Esq
      Page 3

               Interest. penalties and fines

             Unless otherwise ordered, should the Court impose a fine or restitution of more than
      $2,500 as part of the sentence, interest will be charged on the unpaid balance of the fine or
      restitutionnotpaidwithin      daysafterthe judgmentdate. 18U.S.C. $ 3612(Ð. Otherpenalties
                                   15
      and fines may be assessed on the unpaid balance of a fine or restitution pursuant to 18 U.S.C.
      5 3s72(h), (r) and $ 3612(9).

               Forfeiture

              The defendant agrees that by virtue of his plea of guilty he waives any rights or cause of
      action to claim that he is a "substantially prevailing party" for the purpose of recovery of
      attorney fees and other litigation costs in any related forfeiture proceeding pursuant to 28 U.S.C.
      $ 2465(bX1).

      THE SENTENCING GUIDELINES

               Applicability

              The defendant understands that the Court is required to consider any applicable
      Sentencing Guidelines as well as other factors enumerated in 18 U.S.C. $ 3553(a) to tailor an
      appropriate sentence in this case and is not bound by this plea agreement. The defendant agrees
      that the Sentencing Guideline determinations will be made by the Court, by a preponderance of
      the evidence, based upon input from the defendant, the Government, and the United States
      Probation Office. The defendant further understands that he has no right to withdraw his guilty
      plea if his sentence or the Guideline application is other than he anticipated, including if the
      sentence is outside any of the ranges set forth in this agreement.

               Acceptance of Responsibility

                At this time, the Government agrees to recommend that the Court reduce by two levels
       the defendant's adjusted offense level under $ 381.1(a) of the Sentencing Guidelines, based on
       the defendant's prompt recognition and affirmative acceptance of personal responsibility for the
       offense. Moreover, should the defendant qualify for a decrease under $ 3E1.1(a) and his offense
       level determined prior to the operation of subsection (a) is level 16 or greater, the Govemment
       will file a motion with the Court pursuant to $ 381.1(b) which recommends that the Court reduce
       the defendant's Adjusted Offense Level by one additional level based on his prompt notification
       of his intention to enter a plea of guilty. The defendant understands that the Court is not
       obligated to accept the Government's recommendations on the reductions.

               The above-listed recommendations are conditioned upon the defendant's affirmative
       demonstration of acceptance of responsibility, bV ( 1) truthfully admitting the conduct comprising
       the offense(s) of conviction and truthfully admitting or not falsely denying any additional
       relevant conduct for which the defendant is accountable under $ 181.3 of the Sentencing
       Guidelines, artd (2) truthfully disclosing to the United States Attorney's Office and the United
       States Probation Office personal information requested, including the submission of a complete
Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    4 of 9 Page 4 of 9

      March    7, 2018 letter to George G. Mowad   II, Esq
      Page 4

      and truthful financial statement detailing the defendant's financial condition. The defendant
      expressly authorizes the United States Attorney's Office to obtain a credit report concerning the
      defendant.

              In addition, the Government expressly reserves the right to seek denial of the adjustment
      for acceptance of responsibility if the defendant engages in any acts, unknown to the
      Government at the time of the signing of this agreement, which (1) indicate that the defendant
      has not terminated or withdrawn from criminal conduct or associations ($ 3E1.1 of the
      Sentencing Guidelines); (2) could provide a basis for an adjustment for obstructing or impeding
      the administration of justice ($ 3C1.1 of the Sentencing Guidelines); or (3) constitute a violation
      of any condition of release. Moreover, the Government reserves the right to seek denial of the
      adjustment for acceptance of responsibility if the defendant seeks to withdraw his guilty plea or
      takes a position at sentencing, or otherwise, which, in the Government's assessment, is
      inconsistent with affirmative acceptance of personal responsibility. The defendant understands
      that he may not withdraw his plea of guilty if, for the reasons explained above, the Government
      does not make one or both of the recommendations or seeks denial of the adjustment for
      acceptance of responsibility.

               Waiver of Risht to Aooeal or             v Attack Conviction and Sentence

              The defendant acknowledges that under certain circumstances he is entitled to challenge
      his conviction and sentence. The defendant agrees not to appeal or collaterally attack his
      conviction in any proceeding, including but not limited to a motion under 28 U.S.C. ç 2255
      andlor 5 2241. Nor will he pursue such an appeal or collateral attack to challenge the sentence
      imposed by the Court if that sentence does not exceed 240 months of imprisonment, a3-year
      term of supervised release, a $100 special assessment, a $250,000 fine, and restitution in any
      amount ordered by the Court. The Government and the defendant agree that this waiver applies
      regardless of whether the term of imprisonment is imposed to run consecutively to or
      concurrently with, in whole or in part, the undischarged portion of any other sentence that has
      been imposed on the defendant at the time of sentencing in this case. The defendant
      acknowledges that he is knowingly and intelligently waiving these rights. Furthermore, the
      parties agree that any challenge to the defendant's sentence that is not foreclosed by this
      provision will be limited to that portion of the sentence that is inconsistent with (or not addressed
      by) this waiver. Nothing in the foregoing waiver of appellate and collateral review rights shall
      preclude the defendant from raising a claim ofineffective assistance ofcounsel in an appropriate
      forum.

               Information to the Court

               The Government reserves its right to address the Court with respect to an appropriate
       sentence to be imposed in this case. Moreover, the Government will discuss the facts of this
       case, including information regarding the defendant's background and character, 18 U.S.C.
       $ 3661, with the United States Probation Office and will provide the Probation Officer with
       access to material in its file, with the exception of grand jury material.
Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    5 of 9 Page 5 of 9

      March    7, 2018 letter to George G. Mowad   II, Esq
      Page 5

      \ryAIVER OF RIGHTS

               Waiver of Right to Indictment

             The defendant understands that he has the right to have the facts ofthis case presented to
      a federal grandjury, consisting of between sixteen and twenty-three citizens, twelve of whom
      would have to find probable cause to believe that he committed the offense set forth in the
      information before an indictment could be returned. The defendant acknowledges that he is
      knowingly and intelligently waiving his right to be indicted.

               Waiver of Trial Rishts and Consequences of Guiltv Plea

               The defendant understands that he has the right to be represented by an attorney at every
      stage of the proceeding and, if necessary, one will be appointed to represent him.

               The defendant understands that he has the right to plead not guilty or to persist in that
      plea if it has already been made, the right to a public trial, the right to be tried by a jury with the
      assistance of counsel, the right to confront and cross-examine the witnesses against him, the right
      not to be compelled to incriminate himself, the right to testify and present evidence, and the right
      to compel the attendance of witnesses to testify in his defense. The defendant understands that
      by pleading guilty he waives those rights and that, if the plea of guilty is accepted by the Court,
      there will not be a further trial of any kind.

              The defendant understands that, if he pleads guilty, the Court may ask him questions
      about each offense to which he pleads guilty, and if he answers those questions falsely under
      oath, on the record, and in the presence of counsel, his answers may later be used against him in
      a prosecution for perjury or making false statements.

               Waiver of Statute of Limitations

               The defendant agrees that, should the conviction following defendant's guilty plea be
      vacated for any reason, then any prosecution that is not time-barred by the applicable statute of
      limitations on the date of the signing of this plea agreement (including any indictment or counts
      the Govemment has agreed to dismiss at sentencing pursuant to this plea agreement) may be
      commenced or reinstated against the defendant, notwithstanding the expiration of the statute of
      limitations between the signing of this plea agreement and the commencement or reinstatement
      of such prosecution. The defendant agrees to waive all defenses based on the statute of
      limitations with respect to any prosecution that is not time-barred on the date the plea agreement
      is signed.

      ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

              The defendant acknowledges that he is entering into this agreement and is pleading guilty
      freely and voluntarily because he is guilty. The defendant fuither acknowledges that he is
      entering into this agreement without reliance upon any discussions between the Government and
      him (other than those described in the plea agreement letter), without promise of benefit of any
Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    6 of 9 Page 6 of 9

      March    7, 2018 letter to George G. Mowad   II, Esq
      Page 6

      kind (other than the concessions contained in the plea agreement letter), and without threats,
      force, intimidation, or coercion of any kind. The defendant further acknowledges his
      understanding of the nature of the offense to which he is pleading guilty, including the penalties
      provided by law. The defendant also acknowledges his complete satisfaction with the
      representation and advice received from his undersigned attorney. The defendant and his
      undersigned counsel are unaware of any conflict of interest concerning counsel's representation
      ofthe defendant in the case.


      SCOPE OF THE AGREEMENT

              The defendant acknowledges that this agreement is limited to the undersigned parties and
      cannot bind any other federal authority, or any state or local authority. The defendant
      acknowledges that no representations have been made to him with respect to any civil or
      administrative consequences that may result from this plea of guilty because such matters are
      solely within the province and discretion of the specific administrative or governmental entþ
      involved. Finally, the defendant acknowledges that this agreement has been reached without
      regard to any civil tax matters that may be pending or which may arise involving him.

      COLLATERAL CONSEOUENCES

               The defendant understands that he will be adjudicated guilty of each offense to which he
      has pleaded guilty and will be deprived of certain rights, such as the right to hold public office, to
      serve on a jury, to possess firearms and ammunition, and in some states, the right to vote.
      Further, the defendant understands that if he is not a citizen of the United States, a plea of guilty
      may result in removal from the United States, denial of citizenship, and denial of admission to
      the United States in the future. The defendant understands that pursuant to section 203(b) of the
      Justice For All Act, the Federal Bureau of Prisons or the United States Probation Office will
      collect a DNA sample from the defendant for analysis and indexing. Finally, the defendant
      understands that the Government reserves the right to notifr any state or federal agency by which
      he is licensed, or with which he does business, as well as any current or future employer of the
       fact of his conviction.

       SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

                The defendant's guilty plea, if accepted by the Court, will satisfy the federal criminal
       liability of the defendant in the District of Connecticut as a result of his conduct underlying
       Count One of the Information.

               The defendant understands that if, before sentencing, he violates any term or condition of
       this agreement, engages in any criminal activity, or fails to appear for sentencing, the
       Govemment may void all or part of this agreement. If the agreement is voided in whole or in
       part, defendant will not be permitted to withdraw his guilty plea.
Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    7 of 9 Page 7 of 9

      March    7, 2018 letter to George G. Mowad    II, Esq
      Page 7

      NO OTHER PROMISES

               The defendant acknowledges that no other promises, agreements, or conditions have been
      entered into other than those set forth in this plea agreement, and none will be entered into unless
      set forth in writing, signed by all the parties.

               This letter shall be presented to the Court, in open court, and filed in this case.

                                                       Very truly yours,

                                                       JOHN H. DURHAM
                                                       TINITED STATES ATTORNEY




                                                       JO      T.         , JR.
                                                              STANT LINITED STATES ATTORNEY




             The defendant certifies that he has read this plea agreement letter and its attachment(s) or
      has had it read or translated to him, that he has had ample time to discuss this agreement and its
      attachment(s) with counsel and that he fully understands and accepts its terms.

     6     -y4¿-?c(*-
      GERKY MATTHEWS
                                                               A*-rh
                                                               Date
                                                                                O? ?ot          ö

      The Defendant

               I have thoroughly read, reviewed and explained this plea agreement and its attachment(s)
      to my client who advises me that he understands and accepts its terms.


                                                                  sl"\¿r',g
              EG.            II, ESQ.                          Date
      Attorney for the Defendant
Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    8 of 9 Page 8 of 9

      March          7, 2018 letter to George G. Mowad    II, Esq
      Page       I
                                         RIDER CONCERNING RESTITUTION

                     The Court shall order that the defendant make restitution under 18 U.S.C. $ 36634 as
      follows

       1. If the offense resulted       in damage to or loss or destruction of property of a victim of the
               offense:

           A.        Return the property to the owner of the property or someone designated by the owner; or

           B.        If return of the property is impossible, impracticable, or inadequate,   pay an amount equal
                     to:

                     The greater of-
                     (I) the value of the property on the date of the damage, loss, or destruction; or
                     (II) the value of the property on the date of sentencing, less the value as of the date the
                          property is returned.

      2. Inthe         case of an offense resulting in bodily injury to a victim   -
               A.    Pay an amount equal to the costs of necessary medical and related professional services
                     and devices related to physical, psychiatric, and psychological care; including non-
                     medical care and treatment rendered in accordance with a method of healing recognized
                     by the law of the place of treatment;

               B. Pay an amount equal to the cost of necessary physical and occupational therapy and
                   rehabilitation; and

               C. Reimburse the victim for income lost by such victim as a result of such offense;

       3   .   In the case of an offense resulting in bodily injury that results in the death of the victim, pay
               an amount equal to the cost ofnecessary funeral and related services; and

       4. In any case, reimburse      the victim for lost income and necessary child care, transportation,
               and other expenses incurred during participation in the investigation or prosecution of the
               offense or attendance at proceedings related to the offense.

                The order of restitution has the effect of a civil judgment against the defendant. In
       addition to the Court-ordered restitution, the Court may order that the conditions of its order of
       restitution be made a condition of probation or supervised release. Failure to make restitution as
       ordered may result in a revocation of probation, 18 U.S.C. $ 3565, or a modification of the
       conditions of supervised release, 18 U.S.C. $ 3583(e). Failure to pay restitution may also result
       in the defendant being held in contempt, or the defendant's re-sentencing to any sentence which
       might originally have been imposed by the Court. See 18 U.S.C. $$ 36134, 3614.The Court
Case 9:16-cv-81871-KAM   Document 338-17
             Case 3:18-cr-00043-VAB      Entered
                                    Document     on FLSD
                                             5 Filed     DocketPage
                                                     03/07/18   10/15/2018
                                                                    9 of 9 Page 9 of 9

      March    7, 2018 letter to George G. Mowad   II, Esq
      Page 9

      may also order that the defendant give notice to any victim(s) of his offense under 18 U.S.C.   $
      3555.
